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CARTER L. WILLIAMS
DIRECT LINE: 713.470.6126
E-mail: carter.williams@sutherland.com


                                               July 20, 2011
VIA EMAIL AND FIRST CLASS MAIL
R. Chris Heck, Esq.
Kirkland & Ellis, LLP
300 N. LaSalle
Chicago, IL 60654

           Re:        In re: Deepwater Horizon, MDL No. 2179

Dear Chris:

        I write in response to your letters of July 6 and July 15, 2011 to myself and my colleagues
Steve Roberts and Kerry Miller. Your July 15 letter incorrectly states that we have not addressed the
point of your July 6 letter – the flawed argument that by publishing its investigation report
Transocean has waived any work product privilege with respect to its internal investigation. To the
contrary, my July 15 letter notes our disagreement with that proposition. Rather than arguing the
point in the abstract, however, or holding premature discovery conferences over documents that may
not be in dispute, we asked that you review Transocean’s ongoing production of internal
investigation documents and that we then consider a meet and confer if there were any issues left to
discuss.

         Our recommendation was prudent—since our last exchange, we have determined that
Transocean does not intend to assert a broad work product claim over the entire internal investigation
or over a number of the documents referenced in your July 6 letter. In fact, many of these documents
have already been produced (for example, 45, 59, 68, 69, 1045-1050, 1063-1068). Others are
forthcoming, as is a revised privilege log that asserts narrowly defined claims of work product where
appropriate, e.g., for work done by the internal team in preparation for the President’s Oil Spill
Commission, as well as attorney-client and work product claims for certain documents generated
during the investigation by, for the review of, or at the direction of counsel or in anticipation of
litigation. Should you continue to take issue with any of the privilege claims after reviewing the
recent productions and the revised log, we would be happy to schedule a discovery conference at a
mutually convenient time.

                                                       Sincerely,


                                                       Carter L. Williams

cc:        Steven L. Roberts, Esq. (Sutherland Asbill & Brennan LLP)
           Kerry Miller, Esq. (Frilot LLC)
